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                                   United States District Court
                              WESTERN DISTRICT OF WASHINGTON



    ANTONIO P. SMITH,
                                                                 JUDGMENT IN A CIVIL CASE
                   v.

    UNITED STATES OF AMERICA,                                    CASE NUMBER: C19-696RSL



    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
    has rendered its verdict.

X   Decision by Court. This action came to consideration before the Court. The issues have been considered
    and a decision has been rendered.

THE COURT HAS ORDERED THAT

    Mr. Smith’s § 2255 petition to vacate, set aside, or correct a sentence (Dkt. # 1), is GRANTED.

    In addition, the Court ORDERS that:

    (1) The judgment imposed on May 11, 2018, in CR18-12-RSL (W.D. Wash.), Dkt. # 31, is hereby
    VACATED;

    (2) The plea of guilty entered on January 30, 2018, in CR18-12-RSL (W.D. Wash.), Dkt. # 19, is hereby
    WITHDRAWN;

    (3) The indictment in CR18-12-RSL (W.D. Wash.), Dkt. # 11, is DISMISSED WITH PREJUDICE.




     March 25, 2021                                       William M. McCool
                                                          Clerk



                                          /s/ Laura Hobbs
                                          By, Deputy Clerk
